                      Case 1:21-mj-00007-GMH Document 1 Filed 01/07/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        DistrictDistrict
                                                   __________    of Columbia
                                                                         of __________

                  United States of America                          )
                             v.                                     )
                MARK LEFFINGWELL
                                                                    )      Case No.
             DOB: xx/xx/xxxx - PDID: xxx-xxx                        )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021               in the county of                                           in the
                       District of           Columbia           , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. 1752 (a)(1)                             Knowingly Entering or Remaining in any Restricted Building or Grounds
                                                  Without Lawful Authority

18 U.S.C. 115 (a)(1)(A)                           Assault on a Federal Law Enforcement Officer

40 U.S.C. 5104(e)(2)                              Violent Entry and Disorderly Conduct on Capitol Grounds



         This criminal complaint is based on these facts:
See attached statement of facts.




         ✔ Continued on the attached sheet.
         u


                                                                                                Complainant’s signature

                                                                                              Daniel Amendola, Officer
                                                                                                 Printed name and title

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7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV                                                                Digitally signed by G. Michael
                                                                                                             Harvey
                  01/07/2021                                                                                 Date: 2021.01.07 12:52:59 -05'00'
Date:
                                                                                                   Judge’s signature

City and state:                         Washington, D.C.                        G. MICHAEL HARVEY, U.S. Magistrate Judge
                                                                                                 Printed name and title



        Print                        Save As...                  Attach                                                       Reset
